Case 1:17-cv-00726-LMB-JFA Document 43 Filed 03/28/18 Page 1 of 3 PageID# 1462



                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division


     American Chemical Society,

            Plaintiff,

     v.                                                       No. 1:17-cv-00726-LMB-JFA

     SCI-HUB d/b/a WWW.SCI-HUB.CC,
     JOHN DOEs 1-99,

            Defendants.


                                     NOTICE OF WAIVER OF HEARING

            Pursuant to Local Civil Rule 7(J) and Fed. R. Civ. P. 78, Plaintiff American Chemical

 Society, by counsel, hereby waives hearing and submits Plaintiff’s Motion to Amend Permanent

 Injunction for disposition upon the briefs of counsel.1

            Dated: March 28, 2018                By:         /s/ Attison L. Barnes. III /s/
                                                          Attison L. Barnes, III (VA Bar No. 30458)
                                                          David E. Weslow (for pro hac vice)
                                                          WILEY REIN LLP
                                                          1776 K St. NW
                                                          Washington, DC 20006
                                                          (202) 719-7000 (phone)
                                                          abarnes@wileyrein.com
                                                          dweslow@wileyrein.com

                                                          Counsel for Plaintiff
                                                          American Chemical Society




 1
     Defendant Sci-Hub is in default and, therefore, Plaintiff does not expect Defendant to file a brief or response.
Case 1:17-cv-00726-LMB-JFA Document 43 Filed 03/28/18 Page 2 of 3 PageID# 1463



                                  CERTIFICATE OF SERVICE

        Because Defendant Sci-Hub is in default, service of the foregoing is not required. See

 Fed. R. Civ. P. 55(b)(2). Nevertheless, on March 28, 2018, I caused a copy to be sent to the

 following postal and email addresses associated with Defendant Sci-Hub and the domain names

 that are the subject of the instant motion:

        Sci-Hub
        c/o Alexandra Elbakyan
        Teslenko, 275
        Almaty 050014 (KZ)
        sci-hub@tuta.io
        bulletproofweb@gmail.com
        sci-hub.org@gmail.com

        Centrafrique T LD B.V.
        Dot CF administrator
        P.O. Box 11774
        1001 GT Amster dam
        Netherlands
        copyright@freenom.com (sci-hub.cf)

        Gabon TLD B.V.
        P.O. Box 11774
        1001 GT Amste rdam
        Netherlands
        copyright@freenom.com (sci-hub.ga)

        Equatorial Guinea Domains B.V.
        Dominio GQ administrator
        P.O. Box 11774
        1001 GT Amsterdam
        Netherlands
        copyright@freenom.com (sci-hub.gq)

        1337 Services LLC
        P.O. Box 590
        Charlestown, KN 0000 (Saint Kitts and Nevis)
        isnic@njal.la (sci-hub.is)
        whois+sci-hub.nz@njal.la (sci-hub.nz)

        19781002@qq.com (sci-hub.cn)
Case 1:17-cv-00726-LMB-JFA Document 43 Filed 03/28/18 Page 3 of 3 PageID# 1464




                                          /s/ Attison L. Barnes, III /s/
                                         Attison L. Barnes, III, Esq.
                                         WILEY REIN LLP
                                         1776 K Street, NW
                                         Washington, DC 20006
                                         Tel: (202) 719-7000
                                         Fax: (202) 719-7049
                                         abarnes@wileyrein.com

                                         Counsel for Plaintiff
                                         American Chemical Society
